Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20474   Page 1 of 18
                                                                              1



    1                       UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
    2                             SOUTHERN DIVISION
    3
    4     UNITED STATES OF AMERICA,
    5                      Government,
                                                  HONORABLE GEORGE CARAM STEEH
    6           v.
                                                  No. 15-20652
    7     ARLANDIS SHY,II,
    8                    Defendant.
          _____________________________/
    9
                                     MOTION HEARING
   10
                                 Monday, June 4, 2018
   11
                                       -    -    -
   12
          APPEARANCES:
   13
          For the Government:                   MARGARET SMITH, ESQ.
   14                                           Assistant U.S. Attorney
   15
          For the Defendant:                    MARK MAGIDSON, ESQ.
   16
                                       -    -    -
   17
   18                To Obtain Certified Transcript, Contact:
                 Ronald A. DiBartolomeo, Official Court Reporter
   19                 Theodore Levin United States Courthouse
                      231 West Lafayette Boulevard, Room 1067
   20                        Detroit, Michigan 48226
                                   (313) 962-1234
   21
                 Proceedings recorded by mechanical stenography.
   22         Transcript produced by computer-aided transcription.
   23
   24
   25
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19    PageID.20475   Page 2 of 18
                                                                               2



    1                                 I   N   D   E   X
    2     _________________________________________________________Page
    3     Motion Hearing                                                           3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14                             E   X   H   B   I   T   S
   15     Identification__________________________Offered                Received
   16
   17                            N        O       N       E
   18
   19
   20
   21
   22
   23
   24
   25


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19    PageID.20476   Page 3 of 18
                                                                               3



    1                                         Detroit, Michigan
    2                                         Monday, June 4, 2018
    3
    4                                   -     -     -
    5                      THE CLERK:       Case Number 15-2O652, United
    6       States versus Arlandis Shy.           You may be seated.
    7                      THE COURT:       Good morning.
    8                      MR. MAGIDSON:      Good morning, your Honor.
    9                      MS. SMITH:       Good morning, your Honor.      Maggie
   10       Smith and Julie Finocchiaro on behalf of the United
   11       States.
   12                      THE COURT:       Welcome.
   13                      MR. MAGIDSON:      Mark Magidson and John Theis
   14       on behalf of Mr. Shy who is seated counsel table.
   15                      THE COURT:       Welcome.    All right.   This matter
   16       is before the Court on the defendant's motion.
   17                 Would you like to address it, Mr. Magidson?
   18                      MR. MAGIDSON:      Yes, Judge.
   19                 Briefly, Judge -- and I know the Court has had an
   20       opportunity to read my motion and the government's
   21       response -- and here's the problem in a nutshell.
   22                 This case has been pending, as the Court knows,
   23       for a substantial period of time, and then -- I don't
   24       know.   It's been like a week or 10 days ago -- I received
   25       a call from the U.S. Attorney and said, by the way, did I


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20477   Page 4 of 18
                                                                              4



    1       ever give you your client's Facebook account?          I said no,
    2       not really.    I mean, over the course of the past year,
    3       I've gotten all of the co-defendants, and I've tried to
    4       plow through voluminous amounts of material there, just
    5       really a lot of stuff, and he said, well, there was an
    6       oversight or something.      We thought we had given it to
    7       you.   We just informed you that we have it.         We're going
    8       to send it to you, and they did, and it came promptly at
    9       that point, and it is roughly give or take -- roughly
   10       6,000 pages of documents, and that was overwhelming in my
   11       opinion because the -- to go through all of that.
   12                 Now I've gone through parts of it, and I've seen
   13       certain things, and gleaned certain things, and things
   14       frankly that I wish I had known before, because had I
   15       known those before, I might have approached things
   16       differently than I had been with my client, with the
   17       government, negotiations, things like that.          I mean,
   18       things that I thought were not going to potentially be
   19       incriminating to my client, and now I have some of these
   20       things of concern to me.
   21                 So the government says well, it's no big deal.              No
   22       harm, no foul, but -- and I'm not -- I don't have
   23       evidence.    I don't claim they did it as a deliberate
   24       tactic.    I mean, this is a large case.       You know, to keep
   25       this large -- with all of these defendants, to keep it all


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20478   Page 5 of 18
                                                                              5



    1       organized, things fall through the cracks.          So I don't say
    2       it is a deliberate intent.       I don't have any evidence of
    3       that.   There's an error, but with substantial consequences
    4       to the defense, and that's my concern.
    5                And so the government says, we've listed things on
    6       our exhibit list that we think we might use, and it may be
    7       somewhat incriminating.      We're going to give you some of
    8       these things.     You can infer some of the bad things.
    9                That may be true, but that doesn't help me get
   10       into the crux of it.      I mean, maybe there is exculpatory
   11       material that I can use to benefit my client.          We got some
   12       bad stuff.    I mean, we've got a photograph.        Standing
   13       alone you may say, oh my God.       That's terrible, but it may
   14       be connected with another document buried in the other
   15       5,999 pages that could explain that.
   16                So I have -- I think as a defense lawyer, I have a
   17       duty to plow through these volumes, and in a typical case,
   18       a typical single defendant case, you might have five,
   19       three, 400 pages of discovery, maybe less than that.             A
   20       gun case, drug case, 150 pages.       I had a robbery case
   21       involving a phone dump of 3,000 pages, and the court
   22       granted extra -- an expert for me to help analyze this and
   23       go through some of this stuff in a different case.
   24                So now I got 6,000 pages on the eve of trial that
   25       I think ethically requires me to go through to see if


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20479   Page 6 of 18
                                                                              6



    1       there is any exculpatory material because we know there's
    2       inculpatory stuff.     The government has indicated so, and
    3       I've actually plowed through a little bit of it and found
    4       stuff that I shared with Mr. Theis today that I found last
    5       night that is disturbing.
    6                      THE COURT:    Disturbing how?
    7                      MR. MAGIDSON:     It's disturbing that I didn't
    8       have it beforehand, in terms of the government using the
    9       material against my client, and maybe -- who knows, maybe
   10       there's a basis for me to keep it out.         Maybe there's
   11       motions to be filed.      I have not researched all of this.
   12                So that's the reason for the motion.         I filed it.
   13       We set forth the standards.       The Court has authority, and
   14       I asking to preclude this, any use of it.          The Court has
   15       discretion.    The Court can consider the reasons for the
   16       government's delay, the prejudice to the defendant, and
   17       whether there's a less severe sanction that's appropriate
   18       and the other relevant circumstances.         I've cited that in
   19       the case law, and I think we're in agreement on that.
   20                The reasons for delay, it wasn't caused by the
   21       defendant, and again, I don't have any evidence that it
   22       was deliberate.     On the other hand, the government
   23       acknowledges that there was an oversight, something they
   24       forgot about us.
   25                Secondly, the prejudicial --


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20480   Page 7 of 18
                                                                              7



    1                      THE COURT:    I think it was a little more than
    2       that.   They didn't recognize that there was a body of
    3       evidence applicable to your client's Facebook.
    4                      MR. MAGIDSON:     Well, I think the agent had it
    5       all along, or they knew about it.        There was something
    6       that the dots didn't connect.
    7                      THE COURT:    Right.
    8                      MR. MAGIDSON:     It wasn't recently discovered.
    9       They had it for a period of time.        Somebody did.      The
   10       agent, they didn't communicate, or wasn't made known to
   11       the government.
   12                Prejudice to the defendant I think is substantial
   13       for the reasons that I've indicated, and -- and I believe
   14       that given the lateness of the hour that the appropriate
   15       remedy would be preclusion.
   16                Now the government responds by saying well, you
   17       know, the trial doesn't actually start until the 18th.                So
   18       I've got time to, you know, start peeling these levels of
   19       the onion to get to the core.       That's sounds good.       It is
   20       a reasonable argument, except every day -- I shouldn't say
   21       every day -- but we've gotten Jencks material coming in
   22       fast and furious, and I've been trying to plow through all
   23       of that.    It's one thing after another.        The day that I
   24       think I'm almost caught up, here come another, and so last
   25       evening Chris Anton sent out at 10:00 another bunch of


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20481   Page 8 of 18
                                                                              8



    1       Jencks material production 45, 50, whatever amount of it
    2       was.
    3                So this will be continuing as the trial
    4       progresses, and so I'm trying to maintain and getting all
    5       of this new Jencks material and things, and still try to
    6       follow through of what I could have had the past year I
    7       think.
    8                      THE COURT:    Okay.
    9                      MR. MAGIDSON:     Thanks, Judge.
   10                      THE COURT:    Ms. Smith?
   11                      MS. SMITH:    Good morning.     Just from a
   12       factual basis, I think it is worth noting that it is the
   13       defendant's own Facebook account.        So I think the person
   14       who is in the best position to know what's in that account
   15       is probably the defendant himself, more than we would
   16       because it is his account.
   17                Notwithstanding for the record, I think we put
   18       this in the brief, on the 18th of May, this Facebook
   19       returned was passed over to the defendant, and then on the
   20       30th of May, we marked what exhibits we intend to use at
   21       trial from his Facebook account, and sent them over to the
   22       defense along with the search warrant and application and
   23       affidavit itself.
   24                Opening statements as I understand it is to begin
   25       on the 18th of June, and this defendant's Facebook


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20482   Page 9 of 18
                                                                              9



    1       evidence isn't expected to be introduced to the jury until
    2       towards the end of July.      So we're looking at
    3       approximately seven weeks from the time that he received
    4       the Facebook account until it will be utilized at trial.
    5                So defense counsel is correct about Rule 16 and
    6       the remedies.     The reason for the delay I think we both
    7       agree.   It's not anything that's bad faith.         It just
    8       happened to be an error in accumulation of the evidence,
    9       and giving that over, and that's an important part in the
   10       process of determining what would be an effective remedy
   11       to cure this situation.
   12                I wanted to point out two Sixth Circuit cases that
   13       I found that are on point.       The first is United States
   14       versus Naples, which is 6O F3d at 244, and that's a Sixth
   15       Circuit Court of Appeals case where the court reversed the
   16       decision of the district court where the district court
   17       suppressed evidence as a remedy for an alleged discovery
   18       violation.
   19                And in that case the Sixth Circuit noted that the
   20       evidence had been turned over approximately seven weeks
   21       before trial, and just like here, and the Court -- the
   22       panel in that Sixth Circuit case found that we ought to be
   23       looking at the least severe remedy when looking at
   24       discovery issues.
   25                And then there's the United States versus Glover,


                            15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20483   Page 10 of
                                      18
                                                                           10



   1       which is a Sixth Circuit case cited at 846 F2d 339, 1988
   2       case.   In that case the evidence that was not turned over
   3       was not turned over even in time for trial, and the Sixth
   4       Circuit found that supression was not a remedy,
   5       particularly because the defendant failed to ask for
   6       continuance.
   7                 So when we look at what do we do here, 6,000 pages
   8       of evidence, and we are literally today on the eve of
   9       trial, but we know the reason for the delay.          It was not
  10       anything in bad faith.      The degree of prejudice to the
  11       defendant is something that the Court is going to
  12       consider.
  13                 In terms of being able to negotiate a plea, as we
  14       pointed out, we were never in a position to negotiate a
  15       plea until the 14th of May, and it's my understanding that
  16       it's unlikely that this defendant will enter into a plea
  17       before trial.
  18                 In terms of having an opportunity for any grounds
  19       to suppress, the government is not going to object if the
  20       defendants decides that they want to file a motion to
  21       suppress based on the Facebook search warrant, and he
  22       would have until really -- the Court could fashion a date
  23       for that motion cut off, and would not object to that.
  24                 The other issue that was brought up is that it is
  25       unclear as to what charges the Facebook results were


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20484   Page 11 of
                                      18
                                                                           11



   1       pointing towards, and that was also answered in the
   2       response, that it goes towards the RICO conspiracy count.
   3                 So the last factor here is what extent can the
   4       prejudice be cured?      Well, he's not asking for a
   5       continuance of trial, which is the first step in the
   6       remedy afforded in a situation like this.          So because he
   7       doesn't want to exercise that remedy, does not mean we go
   8       to the more severe punishment of suppression of evidence.
   9                 This Court issued an opinion on the 24th of May
  10       denying the government's request for continuance of trial,
  11       and kind of laid out all of the time that the parties have
  12       to continue to prepare for trial, and to utilize their
  13       resources in half day trials, the break between jury
  14       selection and the beginning of trial.
  15                 And so for all of these reasons, your Honor, we
  16       believe that this evidence should be admitted at trial.
  17                      THE COURT:    Okay.    Thank you.
  18                 I know that the government has identified the
  19       information it intends to elicit at trial from the 6,000
  20       pages, and that amounts to 100 pages or 92.
  21                      MS. SMITH:    I think 92 and 11 videos, and the
  22       videos are of short duration.
  23                      THE COURT:    And so Mr. Magidson, you and Mr.
  24       Theis had a chance to review those materials to assess the
  25       evidentiary value in your client's position?


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20485   Page 12 of
                                      18
                                                                           12



   1                      MR. MAGIDSON:     I have not, your Honor.       At
   2       this point I have not been able to look at those as of
   3       yet.   I certainly will.     I should --
   4                      THE COURT:    You've had that for how long now?
   5                      MS. SMITH:    Your Honor --
   6                      MR. MAGIDSON:     I had it on May 30th.       So a
   7       few days.
   8                      THE COURT:    Okay.
   9                      MR. MAGIDSON:     And I just printed out -- my
  10       client came from Milan.      So I printed out some of the
  11       things, and one of the things that I thought was going to
  12       be applying to him is a Facebook entitled          "Grymee the
  13       Shooter," and it has some commentary.         It sounded
  14       terrible, Grymee the Shooter, because his nickname, alias
  15       if you will, is Grymee, but he tells me there are two
  16       Grymees, and I have to explore this.          This is where all of
  17       a sudden this becomes an issue.        I don't know if they got
  18       right stuff.     There's other things I have to explore.
  19                      THE COURT:    Okay.    All right.    Thank you.
  20                 Well, I think the parties have agreed on the
  21       general principles that apply to the late discovery
  22       disclosures in this case, and it does appear to be
  23       uncontested that the materials were overlooked, and
  24       unknown to the government for a considerable period, and
  25       as soon as it was discovered, was delivered and defense


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20486   Page 13 of
                                      18
                                                                            13



   1       counsel was notified.
   2                 So the Sixth Circuit has indicated in Naples,
   3       which is cited by the government, that suppression of
   4       evidence must be viewed as an undesirable remedy reserved
   5       for those cases of incurable prejudice or bad faith
   6       conduct, demanding punishment by the court.
   7                 Well, bad faith conduct is not at issue here, but
   8       incurable prejudice is something that needs to be
   9       considered by the Court.
  10                   In this case any prejudice that results to the
  11       defendant by use of these materials is, or just the
  12       defense counsel's inability to review all of the materials
  13       is based on the imminent trial and all of the other
  14       materials that are described by Mr. Magidson as coming in
  15       day-to-day requiring review.
  16                   If the defendant requested an adjournment of
  17       this case, it would likely get scheduled with the other
  18       cases which we're hoping for trial in October.           So it
  19       would be a matter of a few months before the defendant's
  20       trial would take place if the defendant opted to accept
  21       delay of the trial, and there are remedies that the Court
  22       would be happy to consider if asked by defense counsel to
  23       be considered for a remedy of the situation.
  24                   So one of those would be to appoint an
  25       additional attorney to focus primarily on the 6,000 page


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20487   Page 14 of
                                      18
                                                                           14



   1       set of documents, and of course, in preparation in
   2       general, Mr. Shy has the advantage of two lawyers.            The
   3       Court did grant his motion to permit learned counsel to
   4       continue in assistance for all of the issues addressed in
   5       the trial.    But even with that addition, the Court would
   6       consider another party to focus on this discovery and
   7       assistance to defense counsel in getting prepared.
   8                   That, combined with the amount of time that's
   9       built into our schedule for prep, that is ending the day
  10       at 1:00 in the afternoon so the balance of the day is
  11       available, taking two full weeks off during the course of
  12       the trial at intervals that would allow defense counsel --
  13       especially defense counsel would have additional
  14       assistance of another lawyer to develop, those things I
  15       think are a likely and effective remedy for the problem
  16       that's developed here.
  17                   If this was done in bad faith, that would be a
  18       different story, but it's pretty clear that it is not, and
  19       the Court is constrained to conclude as in Naples that the
  20       suppression of evidence under the circumstances is an
  21       undesirable remedy, and not necessary, because again, I
  22       realize Mr. Shy has been waiting a long time for his
  23       trial, and that it is his desired to go forward, but --
  24       and it's his life.      I think he's bright enough to
  25       recognize where he is situated here, and if the request


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20488   Page 15 of
                                      18
                                                                           15



   1       was made for me to continue the trial, I would absolutely
   2       do that as a remedy in his case.        But in the absence of
   3       that, I can't think of anything else other than appointing
   4       a lawyer to assist specifically in that connection, and --
   5       well, other than, there's nothing else to be said.
   6                      MR. MAGIDSON:     I did consult, again with Mr.
   7       Shy just now as to whether he would want to consider an
   8       adjournment, and he said, as he has all along, he's very
   9       firm that he wants to maintain his speedy trial rights,
  10       and sooner than later.
  11                 The only other thing that I would ask the Court is
  12       if we get into this and find some that there are some
  13       grounds, some motions to proceed on -- there's been
  14       mentioned of dual Grymees out there -- I would like to
  15       keep that option open.
  16                      THE COURT:    Right.    This is all, as it stands
  17       now, the expectation is that material might be used by the
  18       government as of the end of July?
  19                      MS. SMITH:    Yes, your Honor.
  20                      THE COURT:    And depending on your progress,
  21       I'm assume you would like the Court to appoint an
  22       additional attorney to focus on this?
  23                      MR. MAGIDSON:     An additional attorney or even
  24       a paralegal.     I can discuss it with co-counsel, and see
  25       what is the best use of time.


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20489   Page 16 of
                                      18
                                                                           16



   1                      THE COURT:    Yes.    All right.    I'm happy to
   2       provide that as part of the remedy.
   3                      MR. MAGIDSON:     I appreciate it.
   4                      THE COURT:    But in terms of your ability to
   5       challenge the use of some aspect of the discovery to seek
   6       suppression, I heard the government agree that that would
   7       be appropriate to reserve that opportunity.          We need to
   8       establish a cutoff date.
   9                      MS. SMITH:    Yes, your Honor.
  10                      THE COURT:    So what would you propose?
  11                      MS. SMITH:    I think since we don't anticipate
  12       introducing evidence until mid-July -- I don't know what
  13       day of week -- like the 15th or 18th of July, somewhere
  14       along that line so that the Court would have the
  15       opportunity to hear whatever motions might be filed as it
  16       relates to the Facebook account.
  17                      THE COURT:    Okay.    So we'll make it --      we
  18       will give Mr. Magidson and Mr. Theis an opportunity to
  19       file -- I'm thinking the second week of July, early in the
  20       second week.
  21                      MS. SMITH:    That's sounds right.      If it's a
  22       motion to suppress based on the search warrant, then
  23       perhaps they would let us know that they are going to file
  24       something of nature, but motions in limine based on
  25       evidentiary, I think that the mid-July date will work.


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19    PageID.20490   Page 17 of
                                      18
                                                                            17



   1                      THE COURT:       Okay.   So perhaps the 10th of
   2       July, which is a Tuesday.
   3                      MS. SMITH:       That will be fine.
   4                      THE COURT:       All right.    That will be the
   5       ruling as it relates to this motion in limine.
   6                 Is there anything else that we needs to address?
   7                      MR. MAGIDSON:      Nothing further from the
   8       defense, your Honor.
   9                      MS. SMITH:       Not from the United States.
  10       Thank you.
  11                      THE COURT:       Okay.   We'll let you get back to
  12       work.
  13                      MS. SMITH:       Thank you, your Honor.
  14                      MR. MAGIDSON:      Thank you, your Honor.
  15
  16                          (Proceedings concluded.)
  17                                   -     -     -
  18                         C E R T I F I C A T I O N
  19                  I, Ronald A. DiBartolomeo, official court
  20       reporter for the United States District Court, Eastern
  21       District of Michigan, Southern Division, appointed
  22       pursuant to the provisions of Title 28, United States
  23       Code, Section 753, do hereby certify that the foregoing is
  24       a correct transcript of the proceedings in the
  25       above-entitled cause on the date hereinbefore set forth.


                           15-20652; USA v. ARLANDIS SHY
Case 2:15-cr-20652-GCS-DRG ECF No. 1546 filed 12/03/19   PageID.20491   Page 18 of
                                      18
                                                                           18



   1                  I do further certify that the foregoing
   2       transcript has been prepared by me or under my direction.
   3
   4
   5     s/Ronald A. DiBartolomeo                           December 3, 2019
         ____________________________                      ________________
   6     Ronald A. DiBartolomeo, CSR                             Date
         Official Court Reporter
   7                               -  -         -
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


                           15-20652; USA v. ARLANDIS SHY
